
13 N.Y.2d 796 (1963)
The People of the State of New York, Respondent,
v.
Sarto C. Major, Appellant.
The People of the State of New York, Respondent,
v.
Sarto C. Major, Ernest Monica, George M. Canning, Lawrence Seeley and Joseph Kanasola, Appellants.
Court of Appeals of the State of New York.
Argued May 28, 1963.
Decided July 10, 1963.
John C. Kinney for Sarto C. Major, appellant.
Paul R. Shanahan and Henry E. Taylor for remaining appellants.
Joseph A. Ryan, District Attorney (Helen B. Norem of counsel), for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, BURKE, FOSTER and SCILEPPI. Judge VAN VOORHIS dissents and votes to reverse and to dismiss each indictment upon the ground that it fails to allege facts sufficient to constitute a crime.
In each action: Order affirmed. All we hold in affirming the appeals herein is that each indictment is sufficient on its face to withstand a demurrer. No opinion.
